Case oe" Doc 145 Filed 04/24/01 _Page 1 of 11

ORIGINAL

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF DELAWARE

_- =_— = = = = - - - - - - - - - xX Te
tn re: : Chapter 11

: 5 “J
W.R. GRACE & CO., et al., : Case No. 01-1139 =(GUF) co

3 m+ C2

Debtors. : Jointly Administered
—_ _ — _ _— —_ -_ _ _ _ _ os _— =— = *
NOTICE OF APPEARANCE AND
DEMAND FOR NOTICES AND PAPERS
PLEASE TAKE NOTICE that Skadden, Arps, Slate,

Meagher & Flom LLP, hereby enters its appearance on
behalf of Sealed Air Corporation ("Sealed Air"), a credi-

tor and party in interest in the above-captioned chapter
11 cases, pursuant to Bankruptcy Rules 2002, 9007 and
9010 and 11 U.S.C. § 1109(b), and demands that all no-
tices and pleadings given or filed in these cases be
given and served upon each of the following:

Mary A. Coventry

Sealed Air Corporation

Park 80 East

Saddle Brook, New Jersey 07663

(201) 791-7600 (telephone)

(201) 703-4205 (facsimile)

mary.coventry@sealedair.com

- and -

(49
Case 01-01139-AMC Doc145 Filed 04/24/01 _Page 2 of 11

D.J. Baker

Skadden, Arps, Slate, Meagher & Flom LLP

Four Times Square

New York, New York 10036-6522

(212) 735-3000 (telephone)

(212) 735-2000 (facsimile)

jbaker@skadden.com

- and -

Mark S. Chehi

Skadden, Arps, Slate, Meagher & Flom LLP

One Rodney Square

P.O. Box 636

Wilmington, Delaware 19899-0636

(302) 651-3000 (telephone)

(302) 651-3001 (facsimile)

mchehi@skadden.com

PLEASE TAKE FURTHER NOTICE THAT, pursuant to
11 U.S.C. § 1109(b), the foregoing demand includes not
only the notices and papers referred to in the Bankruptcy
Rules specified above, but also includes, without limita-
tion, any notice, application, complaint, demand, motion,
petition, pleading or request, whether formal or infor-
mal, written or oral, and whether transmitted or conveyed
by mail, delivery, telephone, telegraph, telex or other-
wise filed or made with regard to the above-captioned
cases and proceedings therein.

This Notice of Appearance and Demand for Notic-
es and Papers shall not be deemed or construed to be a

waiver of Sealed Air's right (1) to trial by jury in any

proceeding so triable in this case or any case, contro-
Case 01-01139-AMC Doc145_ Filed 04/24/01 _ Page 3 of 11

versy, or proceeding related to this case, or (2) to
assert any other rights, claims, actions, setoffs, or
recoupments to which Sealed Air is or may be entitled,

law or equity, all of which rights, claims, actions,

defenses, setoffs, and recoupments Sealed Air expressly

reserves .

Dated: Wilmington, Delaware
April 24, 2001

Mark 9. Chehi (No. 2855)
John P. Sheahan (No. 3999)
SKADDEN, ARPS, SLATE, MEAGHER
& FLOM LLP
One Rodney Square
P.O. Box 636
Wilmington, Delaware 19899-0636
(302) 651-3000

[ry

Attorneys for Sealed Air Corporation
Case 01-01139-AMC Doc145 Filed 04/24/01 _ Page 4 of 11

CERTIFICATE OF SERVICE

I, John P. Sheahan, hereby certify that on the

24 day of April, 2001, I caused the foregoing Notice of

Appearance and

Demand for Notices and Papers to be served

on the following parties by facsimile, and by First Class

Mail on the parties listed on Exhibit A attached hereto:

243191.02-Wilmington S1A

Laura Davis Jones, Esq.

Pachulski, Stang, Ziehl, Young & Jones P.C.
919 North Market Street, 16°" Floor

P.O. Box 8705

Wilmington, DE 19899-8705

(302) 652-4100 (Telephone)

(302) 652-4400 (Facsimile)

James H.M. Sprayregen, Esq.
Kirkland and Ellis

200 Bast Randolph Drive
Chicago, IL 60601

(312) 861-2000 (Telephone)
(312) 861-2200 (Facsimile)

4 Shh

John P. Sheahan

Case 01-01139-AMC Doc145 Filed 04/24/01 _ Page 5 of 11

W.R. Grace 2002 Service List
Case No. 01-1139 (RJN)

(Counsel to Debtors and Debtors in Posses-
sion)

Laura Davis Jones, Esquire

David Carickoff, Esquire.

Pachulski, Stang, Ziehl, Young & Jones
919 North Market Street, 16th Floor

P.O. Box 8705

Wilmington, DE 19899-8705

(Counsel to Debtors and Debtors in Posses-
sion)

Hamid R. Rafatjoo, Esquire

Pachulski, Stang, Ziehl, Young & Jones
10100 Santa Monica Boulevard

Los Angeles, CA 90067-4100

Hand Delivery

(Copy Service)

Parcels, Inc.

Vito I. DiMaio

10th & King Streets
Wilmington, DE 19801

Hand Delivery

(Local Counsel to DIP Lender)
Steven M. Yoder, Esquire

The Bayard Firm

22? Delaware Avenue, Suite 900
P.O. Box 25130

Wilmington, DE 19899

Hand Delivery

(Local Counsel to Asbestos Claimants)
Matthew G. Zaleski, III, Esquire
Ashby & Geddes

222 Delaware Avenue

P.O. Box 1150

Wilmington, DE 19899

Hand Delivery

William H. Sudell, Jr., Esquire
Eric D. Schwartz, Esquire
Morris, Nichols Arsht & Tunnell
1201 N. Market Street

P.O. Box 1347

Wilmington, DE 19899

Hand Delivery

(Counsel for The Chase Manhattan Bank)
Mark D. Collins, Esquire

Deborah E. Spivak, Esquire

Richards, Layton & Finger, P.A.

One Rodney Square

P.O. Box 551

Wilmington, DE 19899

Hand Delivery

Jeffrey C. Wisler, Esquire
Michelle McMahon, Esquire
Connolly Bove Lodge & Hutz LLP
1220 Market Street, 10" Floor
Wilmington, DE 19899
Case se Doc 145 Filed 04/24/01 _ Page 6 of 11

Hand Delivery

(Counsel for Ingersoll-Rand Fluid Products)
Francis A. Monaco, Jr., Esquire

Walsh, Monzack and Monaco, P.A.

1201 N. Orange Street, Suite 400

P.O. Box 2031

Wilmington, DE 19801

Hand Delivery

(Counsel for Ingersoll-Rand Fluid Products)
Frederick B. Rosner, Esquire

Walsh, Monzack and Monaco, P.A.

1201 N. Orange Street, Suite 400
Wilmington, DE 19801

Federal Express

(Counsel to Debtor)

James H.M. Sprayregen, Esquire
James Kapp, II, Esquire
Kirkland & Ellis

200 East Randolph Drive
Chicago, IL 60601

Federal Express

(United States Trustee)

Frank J. Perch, Esquire

Office of the United States Trustee
601 Walnut Street, Curtis Center,
Suite 950 West

Philadelphia, PA 19106

Federal Express

(Canadian counsel for Debtor)
Derrick Tay, Esquire
Meighen Demers

Suite 1100, Box 11, Merrill Lynch Canada Towe
Sun Life Center, 200 Kint Street West

Toronto, Ontario M5H 3T4

CANADA

Federal Express

(W. R. Grace & Co.)
David B. Siegel

W.R. Grace and Co.
7500 Grace Drive
Columbia, MD 21044

Federal Express

(Official Committee of Personal Injury
Claimants)

Elihu Inselbuch, Esquire

Caplin & Drysdale, Chartered

399 Park Avenue 36" Floor

New York, NY 10022

Federal Express

(Official Committee of Unsecured Credi-
tors)

Lewis Kruger, Esquire

Stroock & Stroock & Lavan LLP

180 Maiden Lane

New York, NY 10038-4982

Federal Express

(Official Committee of Property Damage
Claimants)

Scott L. Baena, Esquire

Member

Bilzin Sumberg Dunn Baena Price &
Axelrod LLP

First Union Financial Center
Case 01-01139-AMC Doc145_ Filed 04/24/01 . Page 7 of 11

200 South Biscayne Blvd, Suite 2500
Miami, FL 33131

First Class Mail

(Counsel to Sealed Air Corporation)

D. J. Baker, Esquire

Skadden, Arps, Slate, Meagher & Flom LLP
Four Times Square

New York, NY 10036

First Class Mail
(Counsel to DIP Lender)
J. Douglas Bacon, Esquire
Latham & Watkins

Sears Tower, Suite 5800
Chicago, IL 60606

First Class Mail

(Counsel to Asbestos Claimants)
Nancy Worth Davis, Esquire

Ness, Motley, Loadhold, Richardson &
Poole

28 Bridgeside Boulevard

P.O. Box 1792

Mount Pleasant, SC 29465

First Class Mail

)

Todd Meyer, Esquire
Kilpatrick Stockton
1100 Peachtree Street
Atlanta, GA 30309

First Class Mail

Securities & Exchange Commission
15" & Pennsylvania Ave. N.W.
Washington, DC 20020

First Class Mail
District Director

IRS

409 Silverside Road
Wilmington, DE 19809

First Class Mail

Securities & Exchange Commission
Atlanta Regional Office
Branch/Reorganization

3475 Lenox Road, NE, Suite 100
Atlanta, GA 30326-1232

First Class Mail
Secretary of Treasurer
P.O. Box 7040
Dover, DE 19903

First Class Mail
Secretary of State
Division of Corporations
Franchise Tax

P.O. Box 7040

Dover, DE 19903
Case 01-01139-AMC Doc145_ Filed 04/24/01 _ Page 8 of 11

First Class Mail

James D. Freeman, Esquire

U.S. Department of Justice
Environmental Enforcement Section
999 18" Street

Suite 945-North Tower

Denver, CO 80202

First Class Mail

Jon L. Heberling, Esquire
McGarvey, Heberling, Sullivan &
McGarvey PC

745 South Main Street

Kalispel, MT 59901

First Class Mail

Patrick L. Hughes, Esquire
Haynes & Boone LLP

1000 Louisiana Street, Suite 4300
Houston, TX 77002-5012

First Class Mail

David S. Heller, Esquire
Latham & Watkins
Sears Tower, Suite 5800
Chicago, IL 60606

First Class Mail

Charles E. Boulbol, Esquire
26 Broadway, 17" Floor
New York, NY 10004

First Class Mail

Ira S. Greene, Esquire

Squadron, Ellenoff, Plesent & Sheinfeld,
LLP

551 Fifth Avenue

New York, NY 10176

First Class Mail

James A. Sylvester, Esquire
Intercat, Inc.

104 Union Avenue
Manasquan, NJ 08736

First Class Mail
Steven J. Johnson, Esquire

Gibson, Dunn & Crutcher LLP

1530 Page Mill Road

Palo Alto, CA 94304-1125

First Class Mail
Charlotte Klenke, Esquire
Schneider National, Inc.
P.O. Box 2545

3101 S. Packerland
Green Bay, WI 54306

First Class Mail

David S. Rosenbloom, Esquire
Jeffrey E. Stone, Esquire
Lewis S. Rosenbloom, Esquire
McDermott, Will & Emery
227 West Monroe Street
Chicago, IL 60606-5096
Case 01-01139-AMC Doc145_ Filed 04/24/01 ._ Page 9 of 11

First Class Mail

Brad Rogers, Esquire

Office of the General Counsel
Pension Benefit Guaranty Corp
1200 K. Street, N. W.
Washington, D.C. 20005-4026

First Class Mail
Pamela Zilly

Richard Shinder
David Blechman
Michael Alexander
The Blackstone Group
345 Park Avenue
New York, NY 10154

First Class Mail

Josiah Rotenberg

Lazard Freres & Co. LLC
30 Rockefeller Plaza, 60"
New York, NY 10020

First Class Mail

(Counsel for The Chase Manhattan)

Stephen H. Case, Esquire
Nancy L. Lazar, Esquire
David D. Tawil, Esquire
Davis Polk & Wardwell
450 Lexington Avenue
New York, NY 10017

First Class Mail

Jan M. Hayden

William H. Patrick

Heller, Draper, Hayden, Patrick & Horn,
Lidadee

650 Poydras Street, Suite 2500

New Orleans, LA 70130-6103

First Class Mail

Joseph F. Rice

Ness, Motley, Loadholt, Richardson &

Poole

28 Bridgeside Blvd.

P.O. Box 1792

Mt. Pleasant, SC 29465

First Class Mail

Nancy Worth Davis

Ness, Motley, Loadholt, Richardson &
Poole

28 Bridgeside Blvd.

P.O. Box 1792

Mt. Pleasant, SC 29465

First Class Mail

(Counsel for Asbestos Claimants)

Steven T. Baron, Esquire

Member

Silber Pearlman, LLP

2711 North Haskell Avenue, 5" Floor, LLP
Dallas, TX 75204
Case 01-01139-AMC Doc145_ Filed 04/24/01 e” 10 of 11

First Class Mail
Bankruptcy Administration
IOS Capital, Inc.

1738 Bass Road

P.O. Box 13708

Macon, GA 31208-3708

First Class Mail

(Attorneys for PPG Industries, Inc.)
W.J. Winterstein, Jr., Esquire

John J. Winter, Esquire

William M. Aukamp, Esquire
Eleven Penn Center, 29" Floor
1835 Market Street

Philadelphia, PA 19103

First Class Mail

R. Scott Williams

PMG Capital Corp.

Four Falls Corporate Center

West Conshohocken, PA 19428-2961

First Class Mail

Alan R. Brayton, Esquire
Brayton & Purcell

222 Rush Landing Road
Novato, CA 94945

First Class Mail

Jonathan W. Young

Wildman, Harrold, Allen & Dixon
225 West Wacker Drive, Suite 3000
Chicago, IL 60606-1229

First Class Mail

Russell W. Budd

Alan B. Rich

Baron & Budd, P.C.

3102 Oak Lawn Avenue, Suite 1100
Dallas, TX 75219

First Class Mail
Shelby A. Jordan, Esquire
Nathaniel Peter Holzer. Esquire

Jordan, Hyden, Womble & Culbreth, P.C.

500 N. Shoreline Blvd., Suite 900
Corpus Christi, TX 78471

First Class Mail

Courtney M. Labson, Esquire

The Mills Corporation

Legal Department

1300 Wilson Boulevard, Suite 400
Arlington, VA 22209

First Class Mail

T. Kellan Grant

Wildman, Harrold, Allen & Dixon
225 West Wacker Drive, Suite 3000
Chicago, IL 60606-1229

First Class Mail

Cindy Schultz

Ingersoll-Rand Fluid Products
One Aro Center

P.O. Box 151

Bryan, OH 43506

Case 01-01139-AMC Doc145 Filed 04/24/01 Page11of11

First Class Mail

Alan Kolod, Esquire

Moses & Singer LLP

1301 Avenue of the Americas
40" Floor

New York, NY 10019-6076

First Class Mail

Mr. Thomas Moskie
Bankers Trust Company
Four Albany Street
Fourth Floor

New York, NY 10006

First Class Mail

John P. Dillman, Esquire
Linebarger Heard Goggan Blair
Graham Pefia & Sampson, LLP
P.O. Box 3064

Houston, TX 77253-3064

First Class Mail

Charles E. Gibson, II
Attorney at Law

620 North Street, Suite 100
Jackson, MS 39202

243678.01-Wilmington SLA 7
